                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                    )
                                            )       Case No. 1:06-CR-57
v.                                          )
                                            )
BRANDON MILLS                               )       COLLIER/CARTER


                            REPORT AND RECOMMENDATION

       An October 6, 2006, letter from Stephen M. Dewalt, Warden of the Federal Bureau of

Prisons in Lexington, Kentucky, and a Forensic Evaluation of defendant Brandon Mills were

received by the undersigned Magistrate Judge. The finding in the evaluation was that the

defendant is currently competent to stand trial. A Waiver of Mental Competency Hearing was

filed with this Court on October 13, 2006. It is therefore ORDERED that the waiver be filed as a

part of the record. The Court RECOMMENDS on the basis of the waiver and the report that

defendant Brandon Mills be found competent to stand trial.



                                            s/William B. Mitchell Carter
                                             UNITED STATES MAGISTRATE JUDGE




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